Case 6:15-cv-00618-JRG-JDL Document 782 Filed 01/06/17 Page 1 of 6 PagelD #: 17696

IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF TEXAS

 

 

TYLER DIVISION

CHRIMAR SYSTEMS, INC., et al,

Plaintiffs, 6:15-CV_639-JRG
v.

PATENT CASE

AEROHIVE NETWORKS, INC., JURY TRIAL DEMANDED

Defendant.

VERDICT FORM

In answering these questions, you are to follow all of the instructions I have given you in
the Court’s Final Instructions to the Jury. Your answers to each question must be unanimous.

As used herein, “Chrimar” means both Chrimar Systems, Inc. and Chrimar Holding
Company, and “Aerohive” means Aerohive Networks, Ihc. As used herein, “’012 Patent” means
U.S. Patent No. 8,155,012; “’760 Patent” means U.S. Patent No. 8,902,760; ‘’ 107 Patent” means

U.S. Patent No. 8,942,107; and “’838 Patent” means U.S. Patent No. 9,019,838.

 

 
Case 6:15-cv-00618-JRG-JDL Document 782 Filed 01/06/17 Page 2 of 6 PagelD #: 17697

QUESTION 1:

Did Chrimar prove by a preponderance of the evidence that Aerohive infringes the
following claims of the following patents?

Answer “Yes” or “No” for each Claim.
°012 Patent
Claim 35
Claim 43
°760 Patent
Claim 31
Claim 72
107 Patent
Claim 111
Claim 123
°838 Patent

Claim 2

SS F& FS EE

Claim 26

If you answered “No” to all of the above questions, you should not answer any further
questions, and in that case, your foreperson should date and sign the last page of this verdict
form, and you should notify the Court Security Officer that you have reached a verdict. If
you answered “Yes” to any of the above questions, proceed and answer the next question as
directed.

 
Case 6:15-cv-00618-JRG-JDL Document 782 Filed 01/06/17 Page 3 of 6 PagelD #: 17698

ANSWER THIS NEXT QUESTION ONLY AS TO THOSE CLAIMS YOU ANSWERED
“YES” TO IN QUESTION 1 ABOVE — OTHERWISE DO NOT ANSWER THIS
QUESTION.

QUESTION 2:

Did Aerohive prove by clear and convincing evidence that any of the asserted claims of
the following patents are invalid?

If you find the claims invalid, answer “Yes,” otherwise, answer “No.”
°012 Patent
Claim 35
Claim 43
°760 Patent
Claim 31
Claim 72
107 Patent
Claim 111
Claim 123
838 Patent
Claim 2
Claim 26

If you answered “Yes” to all of the above questions, you should not answer any further
questions, and in that case, your foreperson should date and sign the last page of this verdict
form, and you should notify the Court Security Officer that you have reached a verdict. If
you answered “No” to any of the above question, proceed and answer the remaining
questions as directed.

 
Case 6:15-cv-00618-JRG-JDL Document 782 Filed 01/06/17 Page 4 of 6 PagelD #: 17699

ANSWER THIS NEXT QUESTION ONLY AS TO THOSE CLAIMS YOU ANSWERED
“YES” TO IN QUESTION 1 ABOVE.

QUESTION 3:

Did Chrimar prove by a preponderance of the evidence that any of the asserted claims of
the following patents were willfully infringed by Aerohive?

If you find the claims were willfully infringed, answer “Yes,” if you find that the
claims were not willfully infringed, then answer “No.”
*012 Patent
Claim 35
Claim 43
°760 Patent
Claim 31
Claim 72
°107 Patent
Claim 111
Claim 123
838 Patent
Claim 2

Claim 26

 
Case 6:15-cv-00618-JRG-JDL Document 782 Filed 01/06/17 Page 5 of 6 PagelD #: 17700

ANSWER QUESTION 4 ONLY IF YOU HAVE FOUND ONE OR MORE OF THE
ASSERTED CLAIMS OF THE CHRIMAR PATENTS TO BE INFRINGED AND NOT
INVALID.

QUESTION 4:
For the claims you have found Aerohive infringed, what total sum of money do you find by a

preponderance of the evidence would reasonably compensate Chrimar for Aerohive’s
infringement during the relevant damages period and through December 31, 2016?

 
Case 6:15-cv-00618-JRG-JDL Document 782 Filed 01/06/17 Page 6 of 6 PagelD #: 17701

You have now reached the end of the verdict form and should review it to ensure it accurately
reflects your unanimous determinations. The jury foreperson should then sign and date the verdict
form in the spaces below and notify the Court Security Officer that you have reached a verdict.
The jury foreperson should retain possession of the verdict form and bring it when the jury is
brought back into the courtroom.

Signed this @ day of January, 2017.

 
